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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE WESTERN DISTRICT OF PENNSYLVANIA


DARTH NEWMAN,                                       Civil Action No. 2:20-cv-01973-RJC

                       Plaintiff,

       v.                                           Honorable Robert J. Colville

POLLOCK COHEN, LLP,
STEVE COHEN,
CHRISTOPHER K. LEUNG, and
ADAM POLLOCK,                                       Electronically Filed

                       Defendants.                  JURY TRIAL DEMANDED



                RENEWED MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff, Darth Newman, files this Renewed Motion for Preliminary Injunction, and in

support states as follows.

       1.      On November 24, 2020, Plaintiff filed his Verified Complaint in the Fifth Judicial

District of Pennsylvania Civil Division. (Exhibit A: Defendants’ Notice of Removal Exhibit A)

       2.      On December 15, 2020, Defendants accepted service of the Verified Complaint.

(Exhibit A)

       3.      On December 18, 2020, at 8:20am, Plaintiff filed a Motion for Preliminary-

Injunction in the Fifth Judicial District and served Defendants with a copy of the Motion for

Preliminary Injunction. The Motion for Preliminary Injunction is attached hereto and incorporated

into and made part of this Motion as Exhibit B.

       4.      On December 18, 2020, the Honorable Judge McVay scheduled a Status

Conference upon consideration of Plaintiff’s Motion for Preliminary Injunction to be conducted

on December 21, 2020. (Exhibit C)
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        5.      Later on December 18, 2020, Defendants removed this action to the Western

District of Pennsylvania pursuant to 28 U.S.C. § 1332 on the grounds of diversity. Defendants

included a copy of Plaintiff’s Motion for Preliminary Injunction in their Notice of Removal as

Exhibit B. (Exhibit A)

        6.      On December 19, 2020, Defendants emailed Judge McVay a copy of the Notice of

Removal. (Exhibit D)

        7.      Due to Defendants’ removal of the action to this Court, Judge McVay did not hold

a status conference on Plaintiff’s Motion for Preliminary Injunction.

        8.      At this time, Plaintiff’s Motion for Preliminary Injunction has not been decided by

either the Fifth Judicial District or this Court.

        9.      Plaintiff asks this court to consider his Motion for Preliminary Injunction as fully

incorporated.

        WHEREFORE, Mr. Newman respectfully requests that this Court consider his Motion for

Preliminary Injunction.

                                                      Respectfully submitted,

                                                      McELROY LAW FIRM, LLC
                                                      By /s/ Rachel L. McElroy
                                                      Rachel L. McElroy, Esq.
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                                                      Attorney for Plaintiff,
                                                      Darth Newman
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of January, 2021, the foregoing Renewed Motion for

Preliminary Injunction was served upon all counsel of record via CM/ECF.



                                                              /s/ Rachel L. McElroy
                                                              Rachel L. McElroy
